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   IT IS ORDERED as set forth below:



   Date: April 27, 2016
                                                    _________________________________

                                                              Paul W. Bonapfel
                                                        U.S. Bankruptcy Court Judge
  _______________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


   IN RE:

   HP Superior, Inc.
   dba St. Francis Home in the Park                 CASE NO. 14-71797-pwb

               Debtor,
   ___________________________________________________/

              CONSENT ORDER ALLOWING ADMINISTRATIVE CLAIM
                         OF AEGIS THERAPIES, INC.
            On March 2, 2016, AEGIS Therapies, Inc. (“AEGIS”) filed a Motion for

   Allowance and Payment of Administrative Claim [Doc. No. 192] (the “Motion”),

   seeking, among other things, allowance and payment of a post-petition administrative

   expense claim in the amount of $81,352.46.

            Also on March 2, 2016, AEGIS filed a notice [Doc No. 192] setting the Motion

   for hearing on March 22, 2016 (the “Hearing”).
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          Counsel for AEGIS and counsel for S. Gregory Hays, as Chapter 7 Trustee

   (“Trustee”) for the bankruptcy estate of HP/Superior Inc., appeared at the Hearing and

   announced that AEGIS and Trustee had reached an agreement related to the relief

   requested in the Motion. No other parties in interest appeared to oppose the relief

   requested in the Motion.

          The Court having considered the Motion, AEGIS and Trustee having consented

   hereto, and for good cause shown, it is hereby

          ORDERED that AEGIS is granted a Chapter 11 administrative claim in the

   amount of $81,352.46 under 11 U.S.C. § 503(b)(1). It is further

          ORDERED that the administrative claim of AEGIS in the amount of $81,352.46

   is to be paid after all allowed Chapter 7 administrative claims. It is further

          ORDERED that the administrative claim of AEGIS in the amount of $81,352.46

   is to be paid pro rata with any other allowed Chapter 11 administrative claims in

   accordance with applicable law.



                                    [END OF DOCUMENT]

   PREPARED AND PRESENTED BY:
   The Law Office of
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   CONSENTED TO BY:

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   Identification of parties to be served:

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